Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 1 of 6 PageID #:
                                    1365
Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 2 of 6 PageID #:
                                    1366
Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 3 of 6 PageID #:
                                    1367
Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 4 of 6 PageID #:
                                    1368
Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 5 of 6 PageID #:
                                    1369
Case 3:02-cr-30024-RGJ-KLH   Document 331   Filed 06/12/07   Page 6 of 6 PageID #:
                                    1370
